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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                               BRUNSWICK DIVISION


EDWARD MAHONEY AND KANEESHA
HOLT,

                Plaintiffs,                               CIVIL ACTION NO.: 2:18-CV-76

       v.

JEREMY OWENS AND THE CITY OF
DARIEN, GEORGIA,

                Defendants.

                                        STATUS REPORT

       With the discovery period having now concluded in the above captioned case, the Parties

make the following report to the Court.

I.     DISCOVERY

       A. Is all discovery completed in this case?

                ☐ Yes          ☒ No

               If “No”, please list what discovery is remaining:

            By agreement of counsel, the final deposition in this case will be taken on May 7,
            2019.

       B. Are there any discovery issues which have been or will be brought before the Court
          for resolution?

                ☐ Yes          ☒ No

               If “Yes”, please briefly explain:

                Click here to enter text.
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II.    SETTLEMENT

       A. Have the parties made efforts to resolve this case?

              ☒ Yes           ☐ No

             If “Yes”, please explain those efforts:

              Defendants provided Plaintiffs’ counsel with direct Eleventh Circuit authority
              establishing Plaintiffs’ claims fail as a matter of law and requested that Plaintiffs
              dismiss their case. Plaintiffs declined to do so.

       B. Are the parties prepared to discuss settlement of this case with the Court at this time?

              ☒ Yes           ☐ No

             If “No”, please explain:

              Click here to enter text.

       C. Are there any third parties and/or lien holders that should be included in any
          settlement discussions for this case?

              ☐ Yes           ☐ No

             If “Yes”, please list those parties:

              Click here to enter text.

       D. The Parties propose the following agreed upon dates, prior to the deadline for filing
          motions, for conducting a status conference. (Please provide several dates for the
          Court’s consideration in scheduling. Regardless of whether the Parties seek to
          discuss settlement, the Court may require that each party have a representative with
          full settlement authority present.)

              In the scheduling order (doc. 16), the Court scheduled a discovery status
              conference for May 10, 2019. The parties are willing to discuss settlement during
              that conference. If the Court desires a different date prior to the May 23, 2019
              civil motions deadline, counsel propose May 17 and 20.




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III.    MOTIONS

        A. The Plaintiff(s) anticipate filing the following Motions:

                       ☐       None
                       ☐       Motion for Summary Judgment
                       ☐       Motion to Exclude Expert Testimony
                       ☐       Other Motion(s) (Except for Motions in Limine), please explain:

                               Click here to enter text.

        B. The Defendant(s) anticipate filing the following Motions:

                       ☐       None
                       ☒       Motion for Summary Judgment
                       ☐       Motion to Exclude Expert Testimony
                       ☐       Other Motion(s) (Except for Motions in Limine), please explain:

                               Click here to enter text.

IV.     ADDITIONAL MATTERS

        If there are any other matters regarding this case that the Parties seek to bring to the

Court’s attention at this time, please briefly explain:


        Defendants feel that Black v. Wigington, 811 F.3d 1259, 1268 (2016) establishes
        that each of Plaintiffs’ claims fail as a matter of law.



Dated: April 29, 2019



/s/ W. Douglas Adams                                                   /s/
Counsel for Plaintiff(s)                                               Counsel for Plaintiff(s)

/s/ Benjamin M. Perkins                                                /s/ Emily Hancock
Counsel for Defendant(s)                                               Counsel for Defendant(s)




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